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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LATRINA COTHRON, individually and              )
on behalf of similarly situated individuals,   )
                                               )
                               Plaintiff,      )
                                               )
         v.                                    )   Case No. 1:19-cv-00382
                                               )
WHITE CASTLE SYSTEM, INC. D/B/A                )   Hon. John J. Tharp, Jr.
WHITE CASTLE and CROSS MATCH                   )
TECHNOLOGIES, INC.,                            )   Magistrate Judge Sidney I. Schenkier
                                               )
                               Defendants.     )


                           WHITE CASTLE SYSTEM, INC.’S
                   REPLY IN SUPPORT OF ITS MOTION TO DISMISS
              PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LATRINA COTHRON, individually and                      )
on behalf of similarly situated individuals,           )
                                                       )
                               Plaintiff,              )
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         v.                                            )   Case No. 1:19-cv-00382
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WHITE CASTLE SYSTEM, INC. D/B/A                        )   Hon. John J. Tharp, Jr.
WHITE CASTLE and CROSS MATCH                           )
TECHNOLOGIES, INC.,                                    )   Magistrate Judge Sidney I. Schenkier
                                                       )
                               Defendants.             )


                           WHITE CASTLE SYSTEM, INC.’S
                   REPLY IN SUPPORT OF ITS MOTION TO DISMISS
              PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT

         Defendant White Castle System, Inc. d/b/a White Castle, (“Defendant” or “White Castle”),

by its attorneys, LEWIS BRISBOIS BISGAARD & SMITH LLP, for its Reply in Support of its

Motion to Dismiss Plaintiff’s Second Amended Class Action Complaint (“Motion to Dismiss”),

states as follows:

                                         INTRODUCTION

         Plaintiff’s Second Amended Class Action Complaint (“Class Action Complaint”) (Dkt. #44)

is based on alleged violations of the Illinois Biometric Information Privacy Act (“BIPA”). As

described in Defendant’s Motion to Dismiss, Plaintiff’s Class Action Complaint fails as a matter of

law and should be dismissed pursuant to Federal Rule of Civil Procedure (“Fed. R. Civ. P.”)

12(b)(6). Plaintiff has failed to state a claim of any BIPA violation by White Castle because Plaintiff

consented both expressly and implicitly to the collection of alleged biometric data, and Plaintiff has

failed to plead allegations sufficient to sustain her claims.




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                                             ARGUMENT

A.       Plaintiff Implicitly and Expressly Consented to Collection, Waived Her Claims Under
         BIPA in 2004 and 2018, and Is Estopped From Raising Them Now.

         It is undisputed that White Castle instituted a “biometric” system1 in the early 2000s to

securely authenticate employee identities to allow employees to access certain functions in its

computer system, electronically sign select documents, and to provide a secondary mode of access to

employee paystubs. White Castle employees could not use the system without proceeding through a

registration process that informed the employees about the biometric system. Employees chose

whether to scan their finger and register for the system or not. Plaintiff attempts to ignore this fact

and the fact that on not just one but on two separate occasions, she agreed in writing to provide her

finger scan and to use the system.

         It is undisputed that White Castle instituted a “biometric” system2 in the early 2000s to

securely authenticate employee identities to allow employees to access certain functions in its

computer system, electronically sign select documents, and to provide a secondary mode of access to

employee paystubs. White Castle employees could not use the system without proceeding through a

registration process that informed the employees about the biometric system. Employees chose

whether to scan their finger and register for the system or not. Plaintiff attempts to ignore this fact

and the fact that on not just one but on two separate occasions, she agreed in writing to provide her

finger scan and to use the system.



         1
          By using the term “biometric” herein, White Castle does not concede that its system collects or
has ever collected “biometric identifiers” as defined by BIPA or that White Castle is subject to regulation
by BIPA.
         2
         By using the term “biometric” herein, White Castle does not concede that its system collects or
has ever collected “biometric identifiers” as defined by BIPA or that White Castle is subject to regulation
by BIPA.




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          Specifically, in 2004, prior to the passage of BIPA, Plaintiff was given the option to register

to use White Castle’s biometric system. Although Plaintiff now alleges that she was “required” to

do so, it is clear that this was not the case. (See Motion to Dismiss, Ex. A). Rather, White Castle

clearly provided Plaintiff with notice that she was registering with the biometric system as well as

with the option to not register. (Id.). The 2004 consent form plainly indicated “Biometric

Registration,” and provided the option of either registering “Biometrics for Electronic Signature” or

refusing to do so by clicking “I Do Not Wish To Register In Biometrics.” The 2004 consent form

explained the purpose of the system and that if an employee did not choose to register, they could

print and sign forms by hand. (Id.).

          Plaintiff elected to consent.

          The 2004 consent form makes evident that White Castle informed Plaintiff about the

biometric system, its purpose, an alternative to use of the system, and that she voluntarily chose to

register her biometrics – years before the Illinois legislature passed BIPA. She could not have

registered without receiving the notice. See Motion to Dismiss. Plaintiff is estopped from now

claiming that she was “required” to scan her finger when the plain language of the consent form

provided her an alternative, nor can she claim that White Castle did not inform her that her biometric

data was being collected. Plaintiff also concedes that Plaintiff was provided with a more robust

disclosure in 2018. Plaintiff’s Opposition to Defendant’s Motion to Dismiss (“Opposition”) at

page 6.

          Plaintiff tries to characterize Plaintiff’s 2018 consent as an argument for “retroactive

compliance.” She misses the point. White Castle is not arguing retroactive compliance. It is stating

simply that Plaintiff knew exactly what she was doing when she elected to use White Castle’s

system, and she did so for years after receiving disclosures from White Castle in 2004. She then




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confirmed her consent in 2018, as discussed in the Motion to Dismiss and infra. She should not now

be permitted to disingenuously assert she did not know what she was doing.

         Even without a consent form, courts in the Northern District have held that implied notice

and consent can preclude BIPA liability, dismissing BIPA cases involving employees or consumers

who voluntarily submit their fingerprints exactly as Plaintiff did here. For example, in Aguilar v.

Rexnord LLC, the plaintiff alleged that his employer violated BIPA by failing to provide formal

notice and receive consent prior to collecting biometric information. Aguilar v. Rexnord LLC,

No. 17 CV 9019, 2018 U.S. Dist. LEXIS 110765, at *7 (N.D. Ill. July 3, 2018). The Court held that

although plaintiff did not receive formal notice nor give formal consent, he knew his fingerprints

were being collected because he scanned them each time he clocked in and out at work, and it was

clear that the fingerprints were stored because they were used for authentication purposes. Id. at *8.

Further, the Court explained, “proper compliance with BIPA’s disclosure and written authorization

requirements would only have made explicit what should have already been obvious.” Id. This has

also been the conclusion of other Northern District courts that have considered the question in the

context of an employer’s biometric system. See Howe v. Speedway LLC, No. 17-cv-07303, 2018

U.S. Dist. LEXIS 90342 (N.D. Ill. May 31, 2018); Goings v. UGN, Inc., No. 17-cv-9340, 2018 U.S.

Dist. LEXIS 99273, at *3 (N.D. Ill. June 13, 2018). The conclusion of the Court in the instant case

should be the same, especially because Plaintiff expressly consented to the use of White Castle’s

biometric system.

         Significantly, in Howe, the Court considered other cases where the plaintiffs were actually

unaware or did not consent to biometric information being taken such as Patel v. Facebook, Monroy

v. Shutterfly, Rivera v. Google, and Norberg v. Shutterfly. The Court distinguished those cases:

         “By contrast, Howe’s fingerprints were collected in circumstances under which any
         reasonable person should have known that his biometric data was being collected. At



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         the beginning of his employment at Speedway, Howe voluntarily submitted to a
         fingerprint scan. He then scanned his fingerprint at the beginning and end of each
         work day, thereby allowing Defendants’ system to identify him and track his hours.
         It should have been readily apparent to Howe that his fingerprint was being scanned
         and stored, otherwise how would Speedway’s time system recognize him based on
         that fingerprint?” Howe v. Speedway LLC, No. 17-cv-07303, 2018 U.S. Dist. LEXIS
         90342, at *17 (N.D. Ill. May 31, 2018).

         The same can be said of Plaintiff in the instant case. Moreover, unlike in Aguilar and Howe,

White Castle gave Plaintiff actual notice, and she voluntarily consented to the collection. Plaintiff

admits in her Class Action Complaint that she scanned her fingerprint “each time she accessed her

paystubs” and “each time she accessed a White Castle computer.” (Dkt. 44, ¶¶42, 44). It is likely

impossible to determine how many time Plaintiff accessed a White Castle computer, but assuming

that Plaintiff received weekly paychecks and elected to access them via a White Castle computer,3

she may have scanned her fingerprint over 780 times over her 15-year tenure with White Castle

before filing this suit. Plaintiff knew her finger was being scanned and certain characteristic points

collected because she scanned her finger “each time she accessed her paystubs” and “each time she

accessed a White Castle computer” (Dkt. 44, ¶¶42,44), and – based on the allegations as she has pled

them – knew that information related to her finger scan was being stored because her finger scan was

obviously being compared to a stored set of characteristics in order to authenticate her identity.

         Waiver is the voluntary and intentional relinquishment of a known right inconsistent with an

intent to enforce that right. In re Nitz, 317 Ill.App.3d 119, 130 (2000). Waiver may arise either

expressly or by conduct inconsistent with an intent to enforce that right. Id. In order to determine the

applicability of waiver, one must focus on the conduct of the non-breaching party. Id. Plaintiff’s

conduct, by scanning her finger as frequently as she claims she did since the passage of BIPA in


         3
         White Castle employees are not required to use a White Castle computer to access their
paystubs.




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2008, relinquished her rights under BIPA because she knew, based on the consent she agreed to in

2004 and her voluntary use of the finger reader itself, that she was using a “biometric” system.

Plaintiff has not alleged that she asked any questions about the system, asked to reverse her consent

and not use the system, or expressed any concern whatsoever. Instead, she elected to keep using the

system.

         The doctrine of equitable estoppel prevents a party from asserting a right it would otherwise

be able to assert. Hubble v. O’Connor, 291 Ill.App.3d 974, 986 (Ill. App., 1997). Estoppel may arise

from silence as well as words. Geddes v. Mill Creek Country Club, Inc., 196 Ill. 2d 302, 303 (2001).

It may arise where there is a duty to speak and the party on whom the duty rests has an opportunity

to speak, and, knowing the circumstances, keeps silent. Id. It is the duty of a person having a right,

and seeing another about to commit an act infringing upon it, to assert her right. She cannot by her

silence induce or encourage the commission of the act and then be heard to complain. Id. The

question of estoppel depends on the facts of each case. Id.

         As mentioned, Plaintiff, a longtime employee of White Castle, would have scanned her

finger hundreds of times in order to authenticate documents, obtain her paystubs, and access certain

functions in the White Castle computer system. Not once did Plaintiff complain or request to use a

non-biometric option, which White Castle offered and clearly made available since the inception of

the system. Plaintiff should not now, years later, be permitted to pursue a lawsuit based on the false

premise that she supposedly did not know or did not consent when the undisputed facts are so clearly

contrary to these assertions.

         Furthermore, in October of 2018, before filing this action, Plaintiff signed an updated White

Castle Biometric Information Privacy Team Member Consent Form. (Motion to Dismiss, Ex. B).

With this form, Plaintiff reaffirmed her election to use finger scans “for the purpose of identifying




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[Plaintiff’s] signature when using White Castle’s proprietary software” and to access secure

information systems. (Id.). Plaintiff also expressly and voluntarily consented to White Castle’s

collection, storage and use of biometric data,” even if the data were covered by BIPA. (Id). Plaintiff

was advised in the Consent Form that her “biometric data” would be deleted when her employment

ended. (Id.). Again, Plaintiff was given the opportunity to either consent or to not provide her finger

scan. (Id.). Plaintiff not only consented, but she used her registered finger scan to sign the Consent

Form. (Id.). Plaintiff complains about this in her Opposition, stating, “ironically, she was required to

scan her already registered and illegally procured fingerprint to electronically sign this ‘consent

form’”. Ignoring the silly “illegally procured” statement since there was no law governing an

employee’s decision to give her fingerprint to her employer at the time Plaintiff elected to do so in

2004, this statement flies in the face of reality. Plaintiff was not “required” to do anything. She

chose to sign using her finger with full knowledge of what she was deciding to sign and how she was

deciding to sign it.

         Thus, Plaintiff unequivocally knowingly and voluntarily waived her right to privacy in any

purported biometric data, and, in fact, expressly authorized White Castle to collect, store, and use

biometric information before and after the passage of BIPA. (Motion to Dismiss, Ex. A and B.). As

a result, Plaintiff is now equitably estopped from alleging that she did not consent to the collection of

her finger scans and should not be allowed to now, years after her initial consent and after again

reaffirming her consent, revoke her consent for a chance at a windfall of either $1,000 or $5,000 for

“each” time she used her already registered and approved finger scans at work. (Dkt. 44, Prayer for

Relief, at 23–24 (emphasis in original).)




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B.       Plaintiff Has Not Pled Facts to Support the Assertion That White Castle Negligently Or
         Intentionally Violated BIPA.

         Plaintiff has not and cannot plead sufficient facts to support her causes of action. The plain

language of BIPA states that a plaintiff is only able to recover liquidated damages for negligent and

reckless or intentional violations of the statute. 740 ILCS 14/20(1). Plaintiff has not alleged any facts

to suggest White Castle engaged in any such conduct. Plaintiff argues that White Castle has mistaken

allegations related to culpability with allegations related to damages, citing authority that damages may

be plead generally or developed through discovery. Of course that is the case; specific damages are

frequently, if not always, determined or confirmed through discovery.

         Here, however, Plaintiff has failed to allege the underlying acts or omissions committed by

White Castle to support negligent, reckless or intentional violations of BIPA. If there is no negligent,

reckless or intentional violation, all of which have well settled legal definitions, there can be no

recovery under BIPA. 740 ILCS 14/20(1).

         In construing a statute, the primary objective is to ascertain the legislature’s intent, and the best

indicator of that intent “is the statutory language itself, which must be given its plain and ordinary

meaning.” Gurba v. Cmty. High Sch. Dist. No. 155, 2015 IL 118332, ¶ 10. The words of the statute

“cannot be read in a fashion that would render words or phrases meaningless, redundant or

superfluous.” Kraft, Inc. v. Edgar, 138 Ill. 2d 178, 189, 561 N.E.2d 656, 661 (1990); see also

Sylvester v. Indus. Comm’n, 197 Ill. 2d 225, 232 (2001) (“We must construe the statute so that each

word, clause, and sentence . . . is given a reasonable meaning and not rendered superfluous, avoiding

an interpretation which would render any portion of the statute meaningless or void.”).

         Plaintiff’s opposition argues that a mere conclusory assertion that White Castle violated

provisions of BIPA is sufficient for recovery. This is wholly insufficient based on the plain language

of BIPA and federal pleading standards. The Court must view the complaint in the light most



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favorable to the plaintiff when ruling on a 12(b)(6) motion to dismiss, accepting all well-pleaded

facts as true and drawing all reasonable inferences in the plaintiff’s favor. Abcarian v. McDonald,

617 F.3d 931, 933 (7th Cir. 2010). However, the “tenet that a court must accept as true all of the

allegations contained in a complaint is inapplicable to legal conclusions.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). Mere legal conclusions are all that Plaintiff alleges in the instant case. A

complaint stating only “bare legal conclusions,” even under notice pleading standards, is not enough

to survive a Rule 12(b)(6) motion. Id. at 547. It must contain “enough facts to state a claim to relief

that is plausible on its face” and also must state sufficient facts to raise a plaintiff”s right to relief

above the speculative level. Id. at 557. If, when viewed in the light most favorable to the plaintiff,

the complaint fails to state a claim upon which relief can be granted, the court must dismiss the case.

See FRCP 12(b)(6); Gomez v. Illinois State Bd. of Educ., 811 F.2d 1030, 1039 (7th Cir. 1987).4

         Plaintiff has not alleged how any alleged act or omission by White Castle was negligent,

reckless or intentional such that she could recover under BIPA. Plaintiff merely recites various

sections of the statute and in a conclusory fashion says that White Castle failed to comply with those

provisions. Such allegations are insufficient. Id.

         While Plaintiff cites to Rosenbach to argue that a mere violation gives rise to a private right

of action, the Illinois Supreme Court’s ruling in Rosenbach did not address the requirement in

Section 20(1) that a plaintiff plead and prove a negligent or other violation of the statute to recover


         4
          In Illinois, general and conclusory allegations are not enough to state a claim. Bogenberger v. Pi Kappa
Alpha Corp. Inc., 2018 IL 120591, ¶ 35. As a result, “[p]laintiffs cannot state a cause of action merely by labeling
certain acts or omissions as ‘negligent’; instead, plaintiffs must specifically allege the elements of duty, breach of
duty, and injury caused by the breach.” McLean v. Rockford Country Club, 352 Ill. App. 3d 229, 233 (2d Dist.
2004); Hancock v. Luetgert, 40 Ill. App. 3d 808, 810 (1976) (“The mere allegations that a defendant’s negligence
caused an injury . . . are conclusions of the pleader.”); Fitch v. McDermott, 401 Ill. App. 3d 1006, 1029 (2d Dist.
2010) (affirming dismissal of negligence claim since plaintiff’s “conclusions of law were insufficient to
sustain a cause of action.”).




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damages. Instead, the Rosenbach decision, rendered only on two certified questions, was limited to

holding that an individual whose biometric identifiers or biometric information were collected,

retained or used in violation of Section 15 is “aggrieved” and “entitled to seek recovery” under BIPA

Section 20. Rosenbach, 2019 IL 123186, ¶ 33 (emphasis added). However, the ability to seek

liquidated damages is a far cry from being automatically entitled to recover liquidated damages, nor

is it a free pass when it comes to complying with pleading requirements. Indeed, such a construction

would be directly contrary to the express language of the statute and impermissibly render the word

“negligently” or “willfully” meaningless, redundant and superfluous. Kraft, Inc. v. Edgar, 138 Ill. 2d

178, 189, 561 N.E.2d 656, 661 (1990).

         Plaintiff also cites to Standard Mut. Inc. Co. v. Lay, to argue that liquidated damages are

separate and apart from the remaining portions of BIPA. However, Standard Mut. Inc. Co., is

distinguishable because it involves violations of the Telephone Consumer Protection Act which

unlike BIPA provides for treble damages in addition to liquidated damages. Standard Mutual

Insurance Co. v. Lay, 2013 IL 114617, ¶ 33, 989 N.E.2d 591. In Lay, the court explained that

liquidated damages may serve additional goals than deterrence and punishment and were not

designed to be punitive damages. Id. On the other hand, BIPA does not provide for punitive damages

and the liquidated damage provision is the only remedy for a violation. As such, a showing of at

least negligence is required to recover under BIPA. Likewise, Sekura v. Krishna Schaumburg Tan,

Inc. does not stand for the proposition Plaintiff asserts. Sekura, unlike this case, involved a claim for

mental anguish due to the alleged violations of BIPA by plaintiff’s employer. 2018 IL App (1st)

180175, ¶ 4, 115 N.E.3d 1080. Plaintiff incorrectly alleges that “White Castle’s argument was

implicitly rejected.” The Sekura court merely stated that when an Act allows for actual damages or

liquidated damages, that a plaintiff may sue for liquidated damages based on a violation or actual




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damages which require evidence such as “medical bills, lost wages, or other out-of-pocket

expenses.” Id. at ¶71. (Emphasis added). The Sekura court at no point held that a plaintiff could

evade the plain language of the Act--that to recover under BIPA the violation must be negligent,

intentional or reckless. See 740 ILCS 14/20.

         Likely Plaintiff is attempting to gloss over the statutory requirement that to recover a

violation must be negligent, reckless or intentional because she understands that she cannot meet that

burden. White Castle is not arguing as claimed by Plaintiff that she must “plead the mental state,

i.e., negligence, recklessness or intent, of an entity” (Opposition page. 13),5 it is arguing that Plaintiff

must plead something as the basis for bringing a lawsuit saying that the conduct of the defendant was

negligent, reckless or intentional such that she is entitled to damages. “A word or phrase in a statute

should not be interpreted in a vacuum; rather, ‘the words of a statute must be read in their context

and with a view to their place in the overall statutory scheme.’” See, e.g., Loja v. Main St.

Acquisitions Corp., 906 F.3d 680, 683 (7th Cir. 2018).

         As explained supra, and more fully in Defendant’s Motion to Dismiss, White Castle took all

reasonable steps it could to ensure Plaintiff’s and other employees’ privacy and provided Plaintiff

with notice of collection and received her consent in 2004, years before BIPA was enacted, and then

again in 2018 before Plaintiff filed this complaint. White Castle complied with the true purpose of

BIPA and should not now be punished for its proactive policies when Plaintiff cannot even articulate

how White Castle’s conduct was negligent, reckless or intentional.

         Accordingly, Plaintiff’s allegations do not support any claim that White Castle negligently or

intentionally violated BIPA, and the Class Action Complaint should be dismissed.


         5
          Whether a corporate entity can even have a mental state is an interesting esoteric proposition
that will not be addressed here.




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C.       Plaintiff Fails to Allege That White Castle Failed to Comply With 740 ILCS 14/15(a).

         Plaintiff has failed to allege a violation of 740 ILCS 14/15(a) as a matter of law because

White Castle does, in fact, have a written, publically available policy establishing a retention

schedule and guidelines for permanently destroying biometric information. Plaintiff attempts to

conflate section 14/15(b) with the requirements under 14/15(a) to assert that a policy must exist

before collection. However, as explained in Defendant’s Motion to Dismiss, where BIPA requires

certain conduct before collection or possession, it does so explicitly as it does in section 14/15(b)

which limits collection “unless [the entity] first” complies with BIPA’s notice and consent

provisions. Which Castle provided such notice and consent in 2004 and again in 2018. On the other

hand, section 14/15(a) does not require the same, and Plaintiff cannot read additional requirements

into BIPA in order to save her deficient complaint. See Dana Tank Container, Inc. v. Human Rights

Comm’n, 687 N.E.2d 102, 104 (Ill. App. 1997) (“Where the legislature uses certain words in one

instance and different words in another, it intended different results.”).

         Therefore, because White Castle has complied with Section 14/15(a), Plaintiff cannot

establish a violation of same, and the Class Action Complaint should be dismissed.

D.       Plaintiff Fails to Allege That White Castle Failed to Comply with 740 ILCS 14/15(b)

         Likewise, Plaintiff has failed to allege a violation of 740 ILCS 14/15(b). Section 14/15(b)

requires that entities disclose in writing that biometric identifiers and information is being collected

prior to such collection 740 ILCS 14/15(b). As stated above, even before BIPA was enacted, White

Castle provided the disclosure to Plaintiff and obtained her voluntary consent. (See Motion to

Dismiss, Ex. A). Plaintiff claims that the disclosure was insufficient; however, that is not the case.

First, in accordance with Section 14/15(b), the 2004 consent form informed Plaintiff, if she chose to

register, that biometric information was to be collected, clearly stated that by agreeing she would be

registering in White Castle’s Biometric System, and made clear that the purpose of collection was to


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allow her to authenticate and sign forms via her “biometrics” rather than by hand. (Motion to

Dismiss, Ex. A). If nothing else, it is substantial compliance with BIPA coupled with Plaintiff’s

actual knowledge of White Castle’s system and her continued use. Plaintiff was well aware that

White Castle’s system was instituted to allow employees to quickly and easily access or

electronically sign official documents. Plaintiff also attempts to argue that that an electronic release

is insufficient, but has not and cannot provide any case law to support this.

         White Castle provided notice before BIPA was created, without any legal obligation to do so

and out of an abundance of caution for its employees’ privacy. It is contrary to the entire purpose of

BIPA to now punish White Castle because it disclosed information about its system to its employees,

gave them a choice if they wanted to use the system and obtained actual consent from employees

before BIPA was passed. Moreover, White Castle has since updated its Biometric Information

Privacy Consent Form, which Plaintiff again signed and reaffirmed her consent to in October 2018,

mere months before filing her initial Class Action Complaint. (Ex. B). Significantly, the 2018

disclosure, like the 2004 disclosure, plainly stated that consent is not required and that employees are

free to revoke consent at any time. Plaintiff did not do so throughout her 15 years with White Castle.

Plaintiff received actual notice and consented to the collection of biometrics and is now attempting

to litigate purely to obtain an unfair and unmerited judgment.

         Because White Castle complied with 740 ILCS 14/15(b), Plaintiff’s Class Action Complaint

should be dismissed.

E.       Plaintiff Fails to Allege That White Castle Failed to Comply with 740 ILCS 14/15(d)

         Plaintiff’s Class Action Complaint should be dismissed because she fails to adequately allege

that White Castle violated 740 ILCS 14/15(d). Similar to her allegations based on Section 14/15(a),

Plaintiff attempts to conflate the section with section 14/15(b) in order to add additional

requirements under the Act. Section 14/15(d) requires that an entity not disclose, redisclose, or


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otherwise disseminate a person’s biometric information unless that person has consented to the

disclosure. 740 ILCS 14/15(d). BIPA does not bar disclosure but merely requires that any disclosure

is done with reasonable care. 740 ILCS 14/15(e).

         Plaintiff inexplicably cites in her Opposition the Illinois Supreme Court in Rosenbach which

explained that “[t]he Act vests in individuals and customers the right to control their biometric

information by requiring notice before collection and giving them the power to say no by

withholding consent.” Rosenbach v. Six Flags Entertainment Corp., 2019 IL 123186, ¶ 34. White

Castle complied with BIPA’s purpose; it gave Plaintiff notice and full power to withhold consent

both in 2004 and 2018. Plaintiff elected not to do so. The Act does not provide a blanket prohibition

on disclosure as Section 14/15(e) outlines the requirements once consent is given. Specifically,

Section 14/15(e) requires entities to “store, transmit, and protect from disclosure all …. biometric

information” with reasonable care. 740 ILCS 14/15(e). Plaintiff does not allege that White Castle

handled her data unreasonably, and in fact, White Castle hosts its own data and there has not been

even a single instance of unauthorized access or dissemination of employee data since the system

was instituted 15 years ago.

         For these reasons, Plaintiff cannot establish a violation of 740 ILCS 14/15(e), and Plaintiff’s

Class Action Complaint should be dismissed.

F.       Illinois Workers’ Compensation Act Bars Plaintiff Claims.

         Plaintiff’s allegations themselves demonstrate that her claim is barred by the IWCA

exclusive remedy provision. The IWCA is an employee’s exclusive remedy for “accidental injuries

. . . arising out of and in the course of employment” and relieves the employer of employee

lawsuits seeking “large damages verdicts” such as this BIPA and negligence class action.

Meerbrey v. Marshall Field & Co., Inc., 139 Ill.2d 455, 462 (1990); Cooley v. Power Constr. Co.,

LLC, 2018 IL App (1st) 171292 at ¶ 12 (1st Dist. June 11, 2018) (“[e]mployees that are injured at work


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do not have a cause of action against their employer, and their exclusive remedy is to apply for

benefits under the [IWCA]”). The Illinois legislature could have said that BIPA is not precluded by

the IWCA, but did not do so. It passed BIPA with an understanding of the existing overall

preclusive effect of the IWCA for injuries that occur on the job.

         Plaintiff’s arguments boil down to the fact that she thinks the IWCA is unfair. Such

arguments have been repeatedly and soundly rejected in favor of the plain meaning of the IWCA.

Section 5(a) of the IWCA applies the exclusive remedy provision not only to “common law” actions

but also to a “statutory right to recover damages from the employer,” i.e., a statute like BIPA. 820

ILCS 305/5(a). This Section further limits employees to the compensation provided by the IWCA

when they have a “common law or statutory right to recover damages from the employer” for

“injury . . . sustained . . . while engaged in the line of his duty.” 820 ILCS 305/5(a). Similarly,

Section 11 reflects that the compensation provided by the IWCA is the employer’s full “measure of

responsibility” for “accidental injuries sustained by any employee arising out of and in the course of

the employment.” 820 ILCS 305/11.

         To escape the preclusive effect of these provisions, an employee must prove the injury: (1)

was not accidental; (2) did not arise out of his employment; (3) did not occur in the course of the

employment; or (4) was otherwise not compensable under the Act. Fregeau v. Gillespie, 96 Ill. 2d

479, 483 (1983); Meerbrey, 139 Ill.2d at 462-63. Plaintiff has not alleged in her Class Action

Complaint that she falls within any of these exceptions to the IWCA’s exclusivity rule.

         Significantly, Plaintiff has explicitly pled that her alleged injuries arose during the course and

scope of her employment because she was “required” to use her employer’s biometric system during

the course of her job while on company property and from a company computer, bringing her

squarely within the plain language of Section 5(a) and Section 11. She has not disputed that the




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alleged injuries occurred during the course of or arose during her employment, thus rendering two of

the four exceptions to the preclusive effect of the IWCA inapplicable.

         Plaintiff has raised nothing to suggest the “accidental” exception applies. To avoid this

prong, Plaintiff was required to alleged that White Castle acted deliberately and with specific intent

to injure her, but she has no such allegations in her Class Action Complaint. See Garland v. Morgan

Stanley & Co., 2013 IL App (1st) 112121, ¶29, citing Copass v. Illinois Power Co., 211 Ill.App.3d

205, 214 (4th Dist. 1991) (plaintiff required to “allege that the defendant acted deliberately with

specific intent to injure the employee”); Mayfield v. ACME Barrel Co., 258 Ill.App.3d 32, 35 (1st

Dist. 1994) (employer must act with specific intent to injure the employee such that the resultant

injury is stripped of its accidental character); see also Baylay v. Etihad Airways P.J.S.C., 222 F.

Supp. 3d 698, 70304 (N.D. Ill. 2016), aff’d, 881 F.3d 1032 (7th Cir. 2018) (“The Illinois Supreme

Court has defined the term ‘accidental’ to be a comprehensive one that is ‘almost without boundaries

in meaning as related to some untoward event.”). White Castle’s history of providing notice to its

employees of its biometric system—including clear and compliant notice that predated BIPA’s

enactment—establishes that Plaintiff cannot possibly plead facts that White Castle engaged in

deliberate conduct with an intent to injure her.

         Finally, the injury is compensable under the IWCA. Plaintiff ignores controlling authority.

The Illinois Supreme Court has clearly and repeatedly held that an injury is compensable under the

IWCA if it was “suffered in the line of duty,” which means it “arose out of and in the course of

employment.” See Folta v. Ferro Eng’g, 2015 IL 118070, ¶¶18-30 (2015); Caterpillar Tractor Co.

v. Industrial Com, 129 Ill. 2d 52, 57-58(1989). Plaintiff’s argument that the IWCA requires a

physical injury to occur is misguided, as are her citations to old cases. The Illinois Appellate Court

has rejected Plaintiff’s arguments and held that the fact that the employee sustained no physical




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injury or trauma is irrelevant to the applicability of the IWCA. Richardson v. County of Cook, 250

Ill. App. 3d 544, 548 (1st Dist. 1993). Rather, an injury is compensable under the [IWCA] if, as

here, it was sustained during the course of employment and arose from that employment. Id.

         The supplemental “authority” submitted by Plaintiff and citations to decisions of the Circuit

Court of Cook County are not binding on this Court, nor are they persuasive. Green Skyline Solar,

LLC v. Sunpin Solar Development, LLC, No. 16-cv-7659, 2017 U.S. Dist. LEXIS 22615, at *6 (N.D.

Ill. Feb. 16, 2017). For example, Plaintiff submits the Circuit Court decision in Robertson v. v.

Hostmark Hospitality Group, which can be readily distinguished. In Robertson, “Defendants offer

no explanation as to how Robertson’s statutory right to maintain his privacy in his biometric data is a

risk or hazard peculiar to his employment as a food and beverage manager.” Robertson v. Hostmark

Hospitality Group, Inc., et al., Circuit Court of Cook County Case N. 18-CH-5194, page 3. Here,

Defendant has explained, and Plaintiff has alleged, that White Castle’s system was used by Plaintiff

in the course and scope of her employment, falling squarely within the employment context for

purposes of the Workers’ Compensation preemption. Furthermore, Plaintiff herself alleges that she

suffered an “injury in fact” in her Class Action Complaint, see Class Action Complaint, Paragraphs

52 and 55, which necessarily stems from her employment. The fact that she fails to specify what

that injury is in her complaint does not save her from the preemptive effect of the IWCA.

         To the extent this Court is inclined to consider persuasive but non-binding case law, the

Court should follow the majority of other jurisdictions that have addressed this issue with respect to

employee privacy and find such claims preempted. See, e.g., Boward-Wedge v. Aquarion Operating

Servs. Co., 2009 U.S. Dist. LEXIS 101953, at*39-44 (D. Mass. July 7, 2009) (invasion of privacy

claim barred by New Hampshire workers’ compensation law); Barber v. Overton, 2005 U.S. Dist.

LEXIS 49506, at *23-24 (W.D. Mich. July 7, 2009) (invasion of privacy claim precluded by




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Michigan’s workers’ compensation law); Hart v. Frisch’s Restaurants, Inc., 1990 U.S. Dist. LEXIS

16832, at 8 (S.D. Ind. Sept. 28, 1990) (finding an invasion of privacy claim in which plaintiff alleged

“mental anguish” to be barred by the Indiana workers’ compensation law); Alves v. Cintas Corp.,

2013 R.I. Super. LEXIS 125, at*20-25 (R.I. Sup. Ct. July 8,2013) (invasion of privacy claim barred

by Rhode Island workers” compensation law).

         The IWCA clearly preempts Plaintiff’s claims under BIPA, and Plaintiff’s Class Action

Complaint should be dismissed.

                                          CONCLUSION

         WHEREFORE, Defendant, White Castle System, Inc. d/b/a White Castle, respectfully

requests that this Honorable Court grant its Motion to Dismiss Plaintiff’s Second Amended Class

Action Complaint en toto with prejudice and award all other relief that is just and proper.

                                               Respectfully submitted,

                                               LEWIS BRISBOIS BISGAARD & SMITH LLP

                                               By: /s/ Mary A. Smigielski
                                                   One of its Attorneys

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                                CERTIFICATE OF SERVICE

I, the attorney, hereby certify that on August 6, 2019, I filed the foregoing with the Clerk of the

Court using the electronic filing system which will send a copy of the filing to all attorneys of

record.


                                                            /s/ Mary A. Smigielski




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